       Case 1:07-cv-04726-RJS               Document 16            Filed 11/13/2007   Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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JOSHUA HOPE,                                                           :

                                            Plaintiff,                 :    07-CV-4726 (RJS)

                          -against-                                    :    AFFIDAVIT OF
                                                                            SERVICE
U.S. DEPARTMENT OF HOUSING AND URBAN                                   :
DEVELOPMENT, ST. MARGARET HOUSE and
JOSEPH BREED,                                                          :

                                            Defendant.                 :

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STATE OF NEW YORK  )
                    : ss.:
COUNTY OF NEW YORK )

                 ARIEL V. GORDON, being duly sworn, deposes and says:

                 1. I am not a party to this action, am over 18 years of age and am a resident of

New York.

                 2. On November 13, 2007, I served Defendants’ St. Margaret’s House and

Joseph Breed’s Notice of Motion to Dismiss the Complaint; Affidavit of Josephine Chung in

Support of Motion to Dismiss the Complaint; Affidavit of Joseph Breed in Support of Motion to

Dismiss the Complaint, with exhibit; Affidavit of Matthew S. Fenster in Support of Motion to

Dismiss the Complaint, with exhibits; and Defendants’ Memorandum of Law in Support of the

Motion to Dismiss the Complaint by causing to be mailed a true copy thereof into an official

depository under the exclusive care and custody of the U.S. Postal Service within New York
      Case 1:07-cv-04726-RJS          Document 16         Filed 11/13/2007      Page 2 of 2




State, enclosed in a post-paid wrapper, addressed to the attorney for the plaintiff at the following

address: Ning Ye, Esq., 42-42 Union Street, Suite 3C, Flushing, New York, 11355.

                                                               s/Ariel V. Gordon
                                                                 Ariel V. Gordon




Sworn to before me this
13th day of November, 2007.


                s/Notary Public
                  Notary Public




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